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             Exhibit B
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                     IN THE UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

NORTH AMERICA MACHINERY                     §
LLC,                                        §
            Plaintiff,                      §
                                            §            CIVIL ACTION NO.___________
VS.                                         §
                                            §
SPEAK2VOICE LLC and RAHIM                   §
RAJWANI                                     §
         Defendants.

                           LIST OF COUNSEL OF RECORD


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